
66 So.3d 391 (2011)
Maysoon SANYOURA-HAMADA, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and ADP Totalsource Co. XXIII Inc., Appellees.
No. 1D11-1310.
District Court of Appeal of Florida, First District.
July 29, 2011.
Maysoon Sanyoura-Hamada, pro se, Appellant.
A. Robert Whaley, General Counsel, for Appellee Florida Unemployment Appeals Commission, Tallahassee.
PER CURIAM.
DISMISSED. Durando v. Palm Beach County, 719 So.2d 1258, 1259 (Fla. 1st DCA 1998) ("[D]isposition is without prejudice to their right to petition the agency to vacate and re-enter that order.").
VAN NORTWICK, PADOVANO, and HAWKES, JJ., concur.
